                                        UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF OREGON
In re                                             )
Eric L Silva                                      )   Case No. 19-34037-pcm12
                                                  )                            EX. D-1
                                                  )   FINANCIAL REVIEW OF DEBTOR'S
                                                  )   FARMING/FISHING BUSINESS
                                                  )   [File With Statement of Financial Affairs in All Chapter
                                                  )   12 Cases; and Chapter 13 Cases If Debtor Earns Any
Debtor(s)
                                                  )   Income From Any Ownership Interest in a FARMING or
                                                  )   FISHING Business]
         (NOTE: ONLY INCLUDE information directly related to the farming/fishing operation. This information is to be from
the corporate books where necessary. If an item of Income or Expense does not apply indicate with N/A. Column (2) of this exhibit
must be updated and submitted to the Trustee on a quarterly basis.)
INDICATE ACCOUNTING METHOD USED: X Cash Basis                       Accrual Basis
BUSINESS NAME, ADDRESS AND PHONE NUMBER: Eric Silva, dba Sunset Canyon Jerseys,

                                                                    (1)                       (2)                      (3)
                                                             Previous Calendar          Current Year to         Projected Annual
                                                                   Year                      Date             Income and Expense
FARMING/FISHING INCOME:
1. Total Income                                          $   2,000,000            $   329,927.63          $   2,000,000
2. Custom Hire Income                                    $   N/A                  $   N/A                 $   N/A
3. Total Other Income                                    $   N/A                  $   N/A                 $   N/A
4. Total Government Payments                             $   N/A                  $   N/A                 $   N/A
5. Gross Income                                          $   $2,000,000           $   329,927.63          $   1,860,000
FARMING/FISHING EXPENSES:
6. Chemicals                                             $   N/A                  $                       $   N/A
7. Custom Hire                                           $   Unknown              $                       $   10,000
8. Equipment Rental                                      $                        $                       $   N/A
9. Feed                                                  $   Unknown              $   171,047.37          $   900,000
10. Fertilizers                                          $   Unknown              $                       $   20,000
11. Fuel                                                 $   Unknown              $   3,958.58            $   22,000
12. Insurance                                            $   Unknown              $   3,001.04            $   12,000
13. Interest                                             $                        $                       $   N/A
14. Labor Hired                                          $   Unknown              $   34,250.20           $   180,000
15. Rent/Lease                                           $                        $   3,051.09            $   N/A
16. Repairs                                              $   Unknown              $   5,777.57            $   3,000
17. Seeds                                                $   Unknown              $                       $   20,000
18. Supplies                                             $   Unknown              $   4,873.65            $   30,000
19. Payroll Taxes                                        $   Unknown              $                       $   40,000
20. Income/Self Employment Taxes                         $   Unknown              $                       $   5,000
21. Taxes-Other                                          $   Unknown              $                       $   5,000
22. Utilities                                            $   Unknown              $   6,022.02            $   12,000
23. Vehicle Expenses                                     $   Unknown              $   3,201.89            $   3,000
24. Veterinary and Medicine                              $   Unknown              $   3,000               $   20,000
25. Other Expenses:
     Genetic Testing & Related Expenses                  $   Unknown              $   3,757.41            $   18,000
     CAFO Permit                                         $   N/A                  $   N/A                 $   15,000
                                                         $   N/A                  $   N/A                 $   N/A
                                                         $   N/A                  $   N/A                 $   N/A
26. Total Accounts Payable
    (attach schedule)                                    $ Unknown                $                       $ 0
27. Total Farming/Fishing Expenses                       $ Unknown                $ 241,940.82            $ 1,315,000
28. NET FARMING/FISHING INCOME
    (line 5 less line 27)                                $ Unknown                $ 87,986.81             $ 685,000
ESTIMATED AVERAGE NET MONTHLY INCOME                                                                      $ 57,083.33


{00349215:1}                                                                                                    Exhibit D-1 (10/17/05)

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